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                     EXHIBIT 3
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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                             TALLAHASSEE DIVISION

    FLORIDA DECIDES HEALTHCARE,
    INC., et al.,
                          Plaintiffs,

           v.                                         No. 4:25-cv-211-MW-MAF

    CORD BYRD, in his official capacity as
    Florida Secretary of State, et al.,
                                        Defendants,

    REPUBLICAN PARTY OF FLORIDA,
              Proposed Intervenor-Defendant.

[PROPOSED] ANSWER TO INTERVENOR-PLAINTIFF SMART & SAFE
FLORIDA’S CORRECTED COMPLAINT BY THE REPUBLICAN PARTY
                      OF FLORIDA

          Intervenor Defendant the Republican Party of Florida (“RPOF”) now answers

Intervenor-Plaintiff Smart & Safe Florida’s (“Intervenor-Plaintiff” or “Smart & Safe”)

Corrected Complaint (ECF No. 54). Unless expressly admitted below, every allegation

of the Corrected Complaint is denied. Accordingly, RPOF states:

                                          Introduction1




1
  Throughout their Corrected Complaint Intervenor-Plaintiff includes a number of
headings that make unproven and untrue factual allegations. To the extent Intervenor-
Plaintiff intends any of its headings to serve as substantive allegations that require a
response, they are denied. RPOF includes the headings herein solely for ease of
reference in this Answer.
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       Admit that HB 12052 speaks for itself. Otherwise, the entirety of the

Introduction prior to the numbered paragraphs is denied.

       1.      Admit that HB 1205 and Florida Statutes speak for themselves. Otherwise

denied.

       2.      Admit that HB 1205 and Florida Statutes speak for themselves. Otherwise

denied.

            a. Admit that HB 1205 and Florida Statutes speak for themselves. Otherwise

               denied.

            b. Admit that HB 1205 and Florida Statutes speak for themselves. Otherwise

               denied.

            c. Admit that HB 1205 and Florida Statutes speak for themselves. Otherwise

               denied.

       3.      Admit that HB 1205 and Florida Statutes speak for themselves. Otherwise

denied.

       4.      Admit that HB 1205 and Florida Statutes speak for themselves. Otherwise

denied.

       5.      Admit that HB 1205 and Florida Statutes speak for themselves. Otherwise

denied.


2
  Although the Corrected Complaint refers throughout to “HB 1205,” Proposed
Intervenor-Defendants interpret this to mean the final version of the bill that passed
and was signed into law, which was Committee Substitute for House Bill 1205 or
“CS/HB 1205.”
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      6.     Admit that HB 1205 and Florida Statutes speak for themselves. Otherwise

denied.

      7.     Admit that HB 1205 and Florida Statutes speak for themselves. Otherwise

denied.

                                      The Parties

      1.     Admit that Smart & Safe submitted a proposed constitutional amendment

to the Florida Division of Elections in 2025 titled “Adult Personal Use of Marijuana,”

Serial No. 25-01. Otherwise without knowledge and/or otherwise denied.

      2.     Without knowledge and therefore denied.

      3.     Some allegations in this paragraph are legal conclusions to which no

response is required. Otherwise denied.

      4.     Admit that HB 1205 speaks for itself. Otherwise denied.

      5.     Some of the allegations in this paragraph are legal conclusions to which

no response is required. Without knowledge as to Smart & Safe’s operations and

therefore denied. Otherwise denied.

      6.     The allegations in this paragraph are legal conclusions to which no

response is required.

      7.     Admit that Cord Byrd is the Secretary of State for Florida and that Florida

Statutes speak for themselves. Otherwise denied.




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      8.      Admit that James Uthmeier is the Attorney General for Florida and that

his official responsibilities are set forth in Florida’s Constitution and Florida Statutes,

which speak for themselves. Otherwise denied.

      9.      Admit that Intervenor-Plaintiff has named County Supervisors of

Elections in their official capacities as Defendants in this lawsuit. Otherwise denied.

      10.     Admit that HB 1205 and Florida Statutes speak for themselves. Otherwise

denied.

                                Jurisdiction and Venue

      11.     Admit that Intervenor-Plaintiff has filed this action pursuant to 28 U.S.C.

§§ 1331, 1343, 2201, and 2202 but denied that Intervenor-Plaintiff has any valid claim

under these laws. Denied that Federal Rules of Civil Procedure 57 and 65 provide this

Court with jurisdiction to hear this case. Otherwise denied.

      12.     Without knowledge and therefore denied.

      13.     Without knowledge and therefore denied.

          The People’s Sovereign Right to Amend the Florida Constitution

      14.     Admit that the Florida Constitution speaks for itself. Otherwise denied.

      15.     Admit that the Florida Constitution speaks for itself. Otherwise denied.

      16.     Admit that the cited case speaks for itself. Otherwise denied.

      17.     Admit that the cited case speaks for itself. Otherwise denied.

      18.     Admit that the cited cases speak for themselves. Otherwise, the remaining

allegations are legal conclusions to which no response is required.
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      19.    The allegations in this paragraph are legal conclusions to which no

response is required.

      20.    Admit that the cited cases speak for themselves. Otherwise, the remaining

allegations are legal conclusions to which no response is required.

      21.    Admit that the Florida Constitution speaks for itself and that the Florida

Division of Elections’ records regarding constitutional amendments on the ballot and

their passage or failure rates speak for themselves. Otherwise denied.

      22.    Admit that the Florida Constitution and Florida Statutes speaks for

themselves. Otherwise denied.

      23.    Admit that the Florida Constitution speaks for itself. Otherwise denied.

      24.    Denied.

      25.    Denied.

                        Smart & Safe Sponsors an Amendment
                        Supported By Millions of Florida Voters

      26.    Admit that Florida voters approved Amendment 2 in 2016 titled “Florida

Medical Marijuana Legalization.” Otherwise denied.

      27.    Admit that other states’ laws speak for themselves. Otherwise denied.

      28.    Admit that Smart & Safe submitted a proposed constitutional amendment

to the Florida Division of Elections in 2022 titled “Adult Personal Use of Marijuana,”

Serial No. 22-05 and that the proposed amendment appeared on the 2024 General




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Election ballot as “Amendment 3.” Otherwise without knowledge and therefore

denied.

      29.    Admit that the Florida Division of Elections’ records regarding vote totals

of constitutional amendments on the ballot and their passage or failure rates speak for

themselves. Otherwise without knowledge and therefore denied. Otherwise denied.

      30.    Admit.

      31.    Without knowledge and therefore denied.

      32.    Admit that the Florida Division of Elections’ records regarding

constitutional amendments on the ballot speak for themselves and that the ballot

initiative titled “Adult Personal Use of Marijuana” is designated as Serial No. 25-01.

Otherwise without knowledge and therefore denied. Otherwise denied.

      33.    Without knowledge and therefore denied.

      34.    Without knowledge and therefore denied.

      35.    Without knowledge and therefore denied.

      36.    Without knowledge as to the residencies and work and travel habits of

Intervenor-Plaintiff’s petition circulators and therefore denied. Otherwise denied.

      37.    Without knowledge and therefore denied.

      38.    Without knowledge as to the number of petitions Smart & Safe has

collected and the number of petitions that “have been or are in the process of being

submitted for verification” and therefore denied. Admit that the Florida Statutes and

HB 1205 speak for themselves. Otherwise denied.
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      39.     Without knowledge as to the diminishment of Intervenor-Plaintiff’s

workforce and therefore denied. Otherwise denied.

      40.     Without knowledge as to the confusion of Intervenor-Plaintiff’s

circulators or how many have stopped working for Intervenor-Plaintiff and therefore

denied. Otherwise denied.

      41.     Without knowledge as to the amount of money Intervenor-Plaintiff has

spent on legal compliance with the law and therefore denied. Otherwise denied.

      42.     Denied.

            HB 1205’s Unconstitutional Assault on the Citizen Initiative

      1. The Ten-Day Delivery Requirement and Severe Punitive Fines
         Unconstitutionally Chill Core Political Speech

      43.     Admit that HB 1205 (including its effective date) and Florida Statutes

speak for themselves. Otherwise denied.

      44.     Admit that HB 1205 speaks for itself. Otherwise denied.

      45.     Admit that HB 1205 speaks for itself. Otherwise denied.

      46.     Admit that HB 1205 speaks for itself. Otherwise denied.

      47.     Without knowledge and therefore denied.

      48.     Admit that the Department of State’s administrative regulations speak for

themselves. Otherwise denied.

      49.     Denied.




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      50.    Admit that HB 1205 and Florida Statutes speak for themselves. Otherwise

denied.

      51.    Admit that HB 1205 speaks for itself. Otherwise denied.

      52.    Without knowledge as to Intervenor-Plaintiff’s receipt of Petitions via

mail and therefore denied. Otherwise denied.

      53.    Denied.

      54.    Without knowledge as to Intervenor-Plaintiff’s use of the U.S. Mail and

therefore denied. Otherwise denied.

      55.    Denied.

      56.    Without knowledge as to Intervenor-Plaintiff’s violations and fines and

therefore denied. Otherwise denied.

      57.    Without knowledge as to Intervenor-Plaintiff’s actions and financial

decisions and the actions of its circulators and therefore denied. Otherwise denied.

      58.    Denied.

      2. HB 1205 Unconstitutionally Impairs Smart & Safe’s Core Political
         Speech and Right to Associate with Petition Circulators

      59.    Admit that HB 1205 and Florida Statutes speak for themselves. Otherwise

denied.

      60.    Without knowledge as to Smart & Safe’s operations and its petition

circulators’ expressions and therefore denied. Admit that HB 1205 speaks for itself.

Otherwise denied.

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      61.    Without knowledge as to the business decisions of professional petition

gathering firms or of the actions of Intervenor-Plaintiff’s circulators and therefore

denied. Otherwise denied.

      62.    Denied.

      3. HB 1205 Compels Speech by Mandating that the Financial Impact
         Statement be Engrafted on Smart & Safe’s Petition

      63.    Admit that the Florida Constitution speaks for itself. Otherwise denied.

      64.    Admit that the statute and cited case speak for themselves. Some

allegations in this paragraph are legal conclusions to which no response is required.

Otherwise denied.

      65.    Admit that HB 1205 and the cited statutes speak for themselves.

Otherwise denied.

      66.    Admit that Florida Statutes (2024) speak for themselves. Otherwise

denied.

      67.    Admit that HB 1205 and the cited statutes speak for themselves.

Otherwise denied.

      68.    Admit that HB 1205 and the cited statutes speak for themselves.

Otherwise denied.

      69.    Admit that HB 1205 and the cited statutes speak for themselves.

Otherwise denied.

      70.    Admit that Florida Statutes govern the FIS process. Otherwise denied.

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      71.   Admit that HB 1205 and the cited statute speak for themselves. Otherwise

denied.

      72.   Denied.

      73.   Admit that the cited case speaks for itself. Otherwise denied.

      74.   Admit that the cited case speaks for itself. Otherwise denied.

      75.   Admit that the cited case speaks for itself. Otherwise denied.

      76.   Denied.

      4. The Mandatory Decertification Provision Impermissibly Burdens
         Speech

      77.   Admit that HB 1205 and the cited statute speak for themselves. Otherwise

denied.

      78.   Admit that HB 1205 and the cited statute speak for themselves. Otherwise

denied.

      79.   Admit that HB 1205 and the cited statute speak for themselves. Otherwise

denied.

      80.   Admit that the Florida Constitution speaks for itself. Otherwise denied.

      81.   Admit that the Florida Constitution speaks for itself. Otherwise denied.

      82.   Admit that the Florida Constitution speaks for itself. Otherwise denied.

      83.   Admit that the Florida Constitution and the cited statute speak for

themselves. Otherwise denied.

      84.   Admit that HB 1205 speaks for itself. Otherwise denied.

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      85.    Admit that HB 1205 and the cited statutes speak for themselves.

Otherwise denied.

      86.    Admit that HB 1205 and the cited statute speak for themselves. Otherwise

denied.

      87.    Denied.

      5. The Additional Amendment Prohibition Bans Core Political Speech

      88.    Admit that HB 1205 speaks for itself. Otherwise denied.

      89.    Admit that Smart & Safe sponsored a proposed amendment in 2024.

Without knowledge as to Smart & Safe’s plans for 2026 and therefore denied. Other

allegations in this paragraph are legal conclusions to which no response is required.

      6. Pre-filled Petition Prohibition

      90.    Admit that HB 1205 speaks for itself. Otherwise denied.

      91.    Without knowledge as to Smart & Safe’s operations and therefore denied.

Admit that HB 1205 speaks for itself. Otherwise denied.

      92.    Denied.

      93.    Denied.

      94.    Denied.

      95.    Denied.

      96.    Denied.

      97.    Without knowledge and therefore denied.


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                                        COUNT I

             Infringement of Smart & Safe’s First Amendment Rights
                    (Undue Burden on Core Political Speech)
                   U.S. Const. amends. I, XIV; 42 U.S.C. § 1983

       98.    RPOF realleges its responses in paragraphs 1-97.

       99.    Admit that Intervenor-Plaintiff purports to allege First Amendment

violations, but denied that Intervenor-Plaintiff’s allegations have merit.

       100. The allegations in this paragraph are legal conclusions to which no

response is required.

       101. Denied.

       102. Denied.

       103. Denied.

       104. The allegations in this paragraph are legal conclusions to which no

response is required.

       WHEREFORE, RPOF denies that Intervenor-Plaintiff is entitled to a judgment

in its favor or any relief:

       A.     RPOF denies that Intervenor-Plaintiff is entitled to the requested relief:

              i.      RPOF denies that Intervenor-Plaintiff is entitled to any relief;

              ii.     RPOF denies that Intervenor-Plaintiff is entitled to any relief;

              iii.    RPOF denies that Intervenor-Plaintiff is entitled to any relief;

              iv.     RPOF denies that Intervenor-Plaintiff is entitled to any relief;

              v.      RPOF denies that Intervenor-Plaintiff is entitled to any relief; and
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              vi.     RPOF denies that Intervenor-Plaintiff is entitled to any relief;

       B.     RPOF denies that Intervenor-Plaintiff is entitled to the requested relief;

       C.     RPOF denies that Intervenor-Plaintiff is entitled to the requested relief;

       D.     RPOF denies that Intervenor-Plaintiff is entitled to the requested relief;

       E.     RPOF denies that Intervenor-Plaintiff is entitled to the requested relief;

       and

       F.     RPOF denies that Intervenor-Plaintiff is entitled to the requested relief.

                                       COUNT II

             Infringement of Smart & Safe’s First Amendment Rights:
                                 Free Association
                    U.S. Const. amends. I, XIV; 42 U.S.C. § 1983

       105. RPOF realleges its responses in paragraphs 1-97.

       106. Admit that Intervenor-Plaintiff purports to allege First Amendment

violations, but denied that Intervenor-Plaintiff’s allegations have merit.

       107. Admit that the U.S. Constitution speaks for itself. Otherwise, the

remaining allegations are legal conclusions to which no response is required.

       108. The allegations in this paragraph are legal conclusions to which no

response is required.

       109. Denied.

       WHEREFORE, RPOF denies that Intervenor-Plaintiff is entitled to a judgment

in its favor or any relief:

       A.     RPOF denies that Intervenor-Plaintiff is entitled to the requested relief;
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      B.     RPOF denies that Intervenor-Plaintiff is entitled to the requested relief;

      C.     RPOF denies that Intervenor-Plaintiff is entitled to the requested relief;

      D.     RPOF denies that Intervenor-Plaintiff is entitled to the requested relief;

      and

      E.     RPOF denies that Intervenor-Plaintiff is entitled to the requested relief.

                                      COUNT III

            Infringement of Smart & Safe’s First Amendment Rights:
                            Substantial Overbreadth
                   U.S. Const. amends. I, XIV; 42 U.S.C. § 1983

      110. RPOF realleges its responses in paragraphs 1-97.

      111. Admit that Intervenor-Plaintiff purports to allege First Amendment

violations, but denied that Intervenor-Plaintiff’s allegations have merit.

      112. Admit that the U.S. Constitution speaks for itself. Otherwise, the

remaining allegations are legal conclusions to which no response is required.

      113. Denied.

      114. The allegations in this paragraph are legal conclusions to which no

response is required.

      115. Denied.

      116. Denied.

      117. The allegations in this paragraph are legal conclusions to which no

response is required.

      WHEREFORE, RPOF denies that Intervenor-Plaintiff is entitled to a judgment
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in its favor or any relief:

       A.     RPOF denies that Intervenor-Plaintiff is entitled to the requested relief:

              i.      RPOF denies that Intervenor-Plaintiff is entitled to any relief;

              ii.     RPOF denies that Intervenor-Plaintiff is entitled to any relief;

              iii.    RPOF denies that Intervenor-Plaintiff is entitled to any relief;

              iv.     RPOF denies that Intervenor-Plaintiff is entitled to any relief;

              v.      RPOF denies that Intervenor-Plaintiff is entitled to any relief; and

              vi.     RPOF denies that Intervenor-Plaintiff is entitled to any relief;

       B.     RPOF denies that Intervenor-Plaintiff is entitled to the requested relief;

       C.     RPOF denies that Intervenor-Plaintiff is entitled to the requested relief;

       D.     RPOF denies that Intervenor-Plaintiff is entitled to the requested relief;

       E.     RPOF denies that Intervenor-Plaintiff is entitled to the requested relief;

       and

       F.     RPOF denies that Intervenor-Plaintiff is entitled to the requested relief.

                                       COUNT IV

             Infringement of Smart & Safe’s First Amendment Rights:
                              FIS Compelled Speech
                      U.S. Const. amends. I, XIV; 42 U.S.C. § 1983

       118. RPOF realleges its responses in paragraphs 1-97.

       119. Admit that Intervenor-Plaintiff purports to allege First Amendment

violations, but denied that Intervenor-Plaintiff’s allegations have merit.


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       120. The allegations in this paragraph are legal conclusions to which no

response is required.

       121. The allegations in this paragraph are legal conclusions to which no

response is required.

       122. The allegations in this paragraph are legal conclusions to which no

response is required.

       WHEREFORE, RPOF denies that Intervenor-Plaintiff is entitled to a judgment

in its favor or any relief:

       A.     RPOF denies that Intervenor-Plaintiff is entitled to the requested relief;

       B.     RPOF denies that Intervenor-Plaintiff is entitled to the requested relief;

       C.     RPOF denies that Intervenor-Plaintiff is entitled to the requested relief;

       D.     RPOF denies that Intervenor-Plaintiff is entitled to the requested relief;

       and

       E.     RPOF denies that Intervenor-Plaintiff is entitled to the requested relief.



                              AFFIRMATIVE DEFENSES

       1.     The allegations in the complaint fail to state a claim upon which relief may

be granted.




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 Dated: May 27, 2025                           Respectfully submitted,

                                               /s/ Benjamin J. Gibson
                                               Benjamin J. Gibson
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                                               Counsel for Proposed Intervenor-Defendant
                                                 Republican Party of Florida


                         CERTIFICATE OF SERVICE
      I hereby certify that on May 27, 2025, I electronically filed this document with

the Clerk of the Court by using the CM/ECF system, which will serve all parties whose

counsel have entered appearances.

                                               /s/ Benjamin J. Gibson




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